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                              Exhibit D




{01240268-1 }
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                                                 United States
                                    Securities and Exchange Commission
  *                 \1                     Denver Regional Office
                     s
  3A gtiffzUIIII                     Byron G. Rogers Federal Building
                   f/M
                                         1961 Stout Street, Suite 1700
                                        Denver, Colorado 80294-1961

  DIVISION OF                                                                           (303) 844-1041
 ENFORCEMENT                                                                          millerte@sec.gov




                                                 October 6, 2017



                              SAR Discovery Material
Via Email
Brent R. Baker
Aaron D. Lebenta
Jonathan D. Bletzacker
Clyde Snow & Sessions
One Utah Center, 13th Floor
201 South Main Street
Salt Lake City, Utah 84 1 1 1 -22 1 6
brb@clvdesnow.com
adl@clvdesnow.com
idb@clvdesnow.com


              Re:        SEC v. Alpine Securities Corporation, 1:1 7-CV-041 79-DLC


Messrs. Baker, Lebenta, and Bletzacker:


      This letter responds to Alpine's letter dated October 3, 2017, our telephone call on
October 4, 2017, and your email dated October 4 about the phone call.


      Alpine raised a number of questions about "Table A", which the SEC produced on
September 29, 2017. That table lists each SAR described in paragraphs 28-33 of the Complaint.
Table A also lists the documents the SEC would use to prove that the associated SAR was
deficient. You now have readily available the factual bases for each alleged violation, which is
what we agreed to provide in order to give Alpine a better understanding of allegations in the
Complaint.


        For SARs without associated supporting files listed in Table A, I am confirming that,
subject to further discovery and investigation as noted in our September 29 letter, the SEC would
point to the face of the SAR only to prove a violation—this is what is meant by the phrase
"deficient on its face." The narratives in these SARs lack some or all of the "who, what, when,
where, and why of the suspicious activity being reported. See Complaint H 29. On the other
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 hand, the SARs with associated supporting files could be both facially deficient and deficient
when compared to the supporting files.


        Alpine has demanded that the SEC identify each red flag that the SEC believes was
omitted from each SAR by the end of this week. The request seeks the SEC's work product - the
information does not exist in the format that Alpine demands and could only be gleaned from the
mental impressions, conclusions, opinions, and legal theories of the SEC attorneys who prepared
this case for litigation. In an effort to cooperate, we marshaled and organized the evidence the
SEC would use to prove each violation at a very early stage of this litigation and in a way that
allows Alpine to understand each allegation when analyzed together with the description in the
Complaint of the types of red flags omitted from the SARs (e.g. criminal history, issuer status as
a shell company, customer status as foreign financial institution). Complaint ffij 30, 33. Now
Alpine demands the legal conclusions that SEC attorneys drew from these records. We cannot
comply with this demand because it crosses the line into the SEC's core attorney work product.
See Fed. R. Civ. P. 26(b)(3)(B).


        We understand that Alpine believes the Court's case management plan is unreasonable,
but the remedy for inadequate time is a request for additional time if and when it is actually
needed. The SEC will cooperate with reasonable requests for additional time to prepare for trial.
But in no event is the SEC's core work product a valid remedy for Alpine's objection to the
Court's case management plan. We also disagree that Alpine's access to the SEC's work product
would shorten the time needed for discovery.


        The request also is unnecessary and, at best, premature. The SEC intends to retain an
expert to offer testimony about the adequacy of the SARs described in the Complaint. The
expert, rather than the SEC attorneys, will testify about the conclusions drawn from the same
materials we have identified. Under this common practice the mental impressions of SEC
attorneys are not relevant or necessary for Alpine to prepare its defense because the SEC
attorneys who prepared this information will not testify at trial. Alpine will have an ample
opportunity to understand and test the SEC's expert's opinions under the rules governing expert
discovery. Even if the mental impressions forming the contentions of the SEC were discoverable
and relevant (they're not), the request is still premature and unduly burdensome given the early
stages of this case.

        You have also requested additional information concerning Table B, which lists
transactions for which Alpine did not file a SAR. You requested that we identify the original
deposits of securities to which the transactions identified in Table B relate. We were able to
create a report that lists the original deposits, which is enclosed with this letter and titled
"Table F."1 Using the Excel filtering fimction, Alpine can use the specific dates, customers, and
ticker symbols in Table B to isolate the related deposits in Table F. Note that some deposits in

1 We are providing this table to you subject to the terms of the Protective Order entered by the Court
on September 25, 2017. The enclosed table constitutes "SAR" Discovery Material as described in
paragraph 3 of the order. Given the nature of the data, which is voluminous and presumably more
useful to you in native format, we are providing this table to you on an "Excel" file, rather than on
paper. Because these are native Excel files, we cannot easily place a legend on every page of the
spreadsheets. Therefore, we hereby designate the table as "SAR" material in accordance with
paragraph 4(a) of the order by and through the SAR designation on the first page of this cover letter.
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Table F relate to multiple liquidations in Table B. Table F is the best tool we have in our
possession that can be used to link deposits with SARs (Table F) to subsequent liquidations
without SARs (Table B). The burden on Alpine to create a better tool is the same as it would be
on the SEC.


        We have provided more than what is necessary to give Alpine an understanding of the
factual bases for the SEC's allegations. Please send further requests for information in the form
of traditional discovery requests.



                                                     Sincerely,


                                                     s/ Terry R. Miller
                                                     Zachary T. Carlyle
                                                     Terry R. Miller
                                                     Attorneys for Plaintiff
                                                     UNITED STATES SECURITIES AND
                                                     EXCHANGE COMMISSION
                                                     1961 Stout Street, 17th Floor
                                                     Denver, Colorado 80294
                                                     (303) 844-1000



       Enclosure: Table F (Excel File)




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